                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

J.G.,                                       :
                                            :
        Plaintiff,                          :
                                            :      CIVIL ACTION FILE
v.                                          :
                                            :      NO. 1:20-cv-05233-SEG
NORTHBROOK INDUSTRIES,                      :
INC., d/b/a UNITED INN AND                  :
SUITES,                                     :
                                            :
        Defendant.                          :

                         CONSOLIDATED PRETRIAL ORDER
        Plaintiff J.G. and Defendant Northbrook Industries, Inc. d/b/a United Inn &

Suites, by and through their undersigned counsel, hereby submit this proposed

consolidated pretrial order.    The parties reserve the right to submit supplemental

pretrial orders up to the pre-trial conference as the parties continue trial preparations.

                                           1.

There are no motions or other matters pending for consideration by the court
except as noted:

        The parties’ opposed Daubert motions are pending for consideration by the

Court. The Daubert motions, and the experts to whom the motions relate, are on the

docket at the below locations:

     x Naeshia McDowell (ECF Nos. 99, 119, 125)


                                            1
   x Darrell Chaneyfield (ECF Nos. 100, 118, 124)

   x Karim Vellani (ECF No. 109, 117, 129)

      The parties’ opposed motions in limine are pending for consideration by the

Court at the below locations:

   x Plaintiff’s Motions in Limine (ECF Nos. 161, 165, 173)

   x Defendant’s Motions in Limine (ECF Nos. 160, 167, 172)

      Defendant’s opposed Rule 412 motion is pending for consideration by the

Court at the below location:

   x Defendant’s Rule 412 Motion (ECF No. 175, 176, 178)

      The parties’ trial briefs are pending for consideration by the Court at the

below locations:

   x Plaintiff’s Trial Brief (ECF No. 188)

   x Defendant’s Trial Brief (ECF No. 187)

      Plaintiff intends to file a motion for protective order to permit Plaintiff to be

referred to by her first name during trial. Defendant does not intend to oppose this

motion.

                                          2.

      All discovery has been completed, unless otherwise noted, and the court
will not consider any further motions to compel discovery. (Refer to LR 37.1B).
Provided there is no resulting delay in readiness for trial, the parties shall,
however, be permitted to take the depositions of any persons for the
preservation of evidence and for use at trial.

                                          2
      Pursuant to agreement, the parties will cooperate to schedule trial depositions,

if any, subject to the limitation articulated in the preceding paragraph.

                                          3.

       Unless otherwise noted, the names of the parties as shown in the caption
to this Order and the capacity in which they appear are correct and complete,
and there is no question by any party as to the misjoinder or non-joinder of any
parties.

      The parties are correctly identified.

                                          4.

      Unless otherwise noted, there is no question as to the jurisdiction of the
court; jurisdiction is based upon the following code sections. (When there are
multiple claims, list each claim and its jurisdictional basis separately.)

      This Court has subject matter jurisdiction over this lawsuit pursuant to 28

U.S.C. § 1331 because Plaintiffs assert claims arising under 18 U.S.C. § 1595(a).

                                          5.

      The following individually-named attorneys are hereby designated as
lead counsel for the parties:

Plaintiff:
David H. Bouchard
Georgia Bar No. 712859
david@finchmccranie.com
Finch McCranie, LLP
229 Peachtree St. NE, Suite 2500
Atlanta, GA 30303

Defendants:


                                           3
Dana M. Richens
Georgia Bar No. 604429
drichens@sgrlaw.com
Smith, Gambrell & Russell, LLP
1105 West Peachtree Street N.E.
Suite 1000
Atlanta, Georgia 30309

Other parties:

      None

                                         6.

      Normally, the plaintiff is entitled to open and close arguments to the jury.
(Refer to LR39.3(B)(2)(b)). State below the reasons, if any, why the plaintiff
should not be permitted to open arguments to the jury.

      None.

                                         7.

      The captioned case shall be tried ( X ) to a jury or (_____) to the court

without a jury, or (_____) the right to trial by jury is disputed.

                                         8.

      State whether the parties request that the trial to a jury be bifurcated, i.e.
that the same jury consider separately issues such as liability and damages.
State briefly the reasons why trial should or should not be bifurcated.

      Plaintiff requests a bifurcated trial under Fed. R. Civ. P. 42(b) and Fed. R.

Evid. 611, with the first phase concerning liability and compensatory damages, and

the second phase concerning punitive damages. The trial should be bifurcated for

efficiency, economy, and the orderly presentation of evidence.


                                         4
         Defendant does not concede that Plaintiff is entitled to pursue a claim of

punitive damages. If the Court determines that Plaintiff may pursue such a claim,

then Defendant requests that the Court follow the procedure set forth in O.C.G.A. §

51-12-5.1(d)—that is, the trier of fact shall first resolve from the evidence produced

at trial whether an award of punitive damages shall be made, as indicated in an

appropriate form of verdict. If it is found that punitive damages are to be awarded,

then the trial shall immediately be recommenced in order to receive evidence on that

issue.

                                          9.

       Attached hereto as Attachment “A” and made a part of this order by
reference are the questions which the parties request that the court propound
to the jurors concerning their legal qualifications to serve.

         See Attachment “A” concerning proposed joint jury questionnaire.

                                         10.

      Attached hereto as Attachment “B-1” are the general questions which
plaintiff wishes to be propounded to the jurors on voir dire examination.
Attached hereto as Attachment “B-2” are the general questions which
defendant wishes to be propounded to the jurors on voir dire examination.
Attached hereto as Attachment “B-3”, “B-4”, etc. are the general questions
which the remaining parties, if any, wish to be propounded to the jurors on voir
dire examination. The court, shall question the prospective jurors as to their
address and occupation and as to the occupation of a spouse, if any. Counsel
may be permitted to ask follow-up questions on these matters. It shall not,
therefore, be necessary for counsel to submit questions regarding these matters.
The determination of whether the judge or counsel will propound general voir
dire questions is a matter of courtroom policy which shall be established by each
judge.


                                          5
      See Attachments “B-1” and “B-2.”

                                         11.

State any objections to plaintiff’s voir dire questions: See below.

State any objections to defendant’s voir dire questions: See below.

State any objections to the voir dire questions of the other parties, if any:

      The parties have conferred and made a good-faith effort to resolve objections.

Where the parties were unable to agree, the parties have indicated the same in

Attachments “B-1” and “B-2” by incorporating objections in bold beneath the

subject voir dire question.


                                         12.

      All civil cases to be tried wholly or in part by jury shall be tried before a
jury consisting of not less than six (6) members, unless the parties stipulate
otherwise. The parties must state in the space provided below the basis for any
requests for additional strikes. Unless otherwise directed herein, each side as a
group will be allowed the number of peremptory challenges as provided by 28
U.S.C. § 1870. See Fed.R.Civ.P. 47(b).

      Given the potentially sensitive nature of the subject matter of the lawsuit,

which may involve discussion of sex trafficking, including physical violence, sexual

violence, and sexual trauma, the parties propose a larger panel of 30 potential jurors

with each side being entitled to 4 peremptory strikes.

      Furthermore, given the nature of the facts at issue, the parties also propose

that the jurors complete a questionnaire in advance of voir dire. A questionnaire


                                          6
permits jurors to disclose sensitive information in a more discreet manner than if

questions were posed in open court. The parties have conferred and prepared a joint

questionnaire—see Attachment “A.”

                                         13.

      State whether there is any pending related litigation. Describe briefly,
including style and civil action number.

Plaintiffs’ position:

          1. The matter Northfield Insurance Company v. Northbrook Industries,

             Inc., d/b/a United Inn and Suites, and J.G. (Case No. 1:23-cv-03596-

             SEG) is now pending before the Court. The case concerns Northfield

             Insurance Company’s Complaint for Declaratory Judgment relating to

             an insurance policy in effect at United Inn and Suites at the time J.G.

             was sex trafficked at the hotel.

          2. The matters A.G. v. Northbrook Industries, Inc., d/b/a United Inn and

             Suites (Case No. 1:20-cv-05231-JPB) and G.W. v. Northbrook

             Industries, Inc., d/b/a United Inn and Suites (Case No. 1:20-cv-05232-

             JPB). The A.G. and G.W. cases involve legal claims arising from minor

             sex trafficking at United Inn & Suites in 2017, the year before J.G. was

             trafficked at United Inn & Suites. Judge Boulee granted summary

             judgment, and his orders are the subject of pending appeals to the

             Eleventh Circuit.

                                          7
Defendants’ position:

      Defendant notes that Judge Boulee granted summary judgment to Northbrook

in the above-referenced A.G. and G.W. matters. Further, Defendant does not

concede that the facts relating to those matters are relevant here.

                                         14.

       Attached hereto as Attachment “C” is plaintiff’s outline of the case which
includes a succinct factual summary of plaintiff’s cause of action and which
shall be neither argumentative nor recite evidence. All relevant rules,
regulations, statutes, ordinances, and illustrative case law creating a specific
legal duty relied upon by plaintiff shall be listed under a separate heading. In
negligence cases, each and every act of negligence relied upon shall be
separately listed. For each item of damage claimed, plaintiff shall separately
provide the following information: (a) a brief description of the item claimed,
for example, pain and suffering; (b) the dollar amount claimed; and (c) a
citation to the law, rule, regulation, or any decision authorizing a recovery for
that particular item of damage. Items of damage not identified in this manner
shall not be recoverable.

                                         15.

       Attached hereto as Attachment “D” is the defendant’s outline of the case
which includes a succinct factual summary of all general, special, and
affirmative defenses relied upon and which shall be neither argumentative nor
recite evidence. All relevant rules, regulations, statutes, ordinances, and
illustrative case law relied upon as creating a defense shall be listed under a
separate heading. For any counterclaim, the defendant shall separately provide
the following information for each item of damage claimed: (a) a brief
description of the item claimed; (b) the dollar amount claimed; and (c) a citation
to the law, rule, regulation, or any decision authorizing a recovery for that
particular item of damage. Items of damage not identified in this manner shall
not be recoverable.




                                          8
                                        16.

      Attached hereto as Attachment “E” are the facts stipulated by the parties.
No further evidence will be required as to the facts contained in the stipulation
and the stipulation may be read into evidence at the beginning of the trial or at
such other time as is appropriate in the trial of the case. It is the duty of counsel
to cooperate fully with each other to identify all undisputed facts. A refusal to
do so may result in the imposition of sanctions upon the noncooperating
counsel.

      See Attachment “E.”

                                        17.

      The legal issues to be tried are as follows:

By Plaintiffs:

        (1) Whether Defendant United Inn & Suites is liable to Plaintiff under the
            TVPRA, 18 U.S.C. § 1595(a).
        (2) Whether Defendant United Inn & Suites’s acts or omissions were the
            proximate cause of Plaintiff’s injuries or damages.

        (3) Whether Defendant United Inn & Suites is liable to Plaintiff for
            damages, and the amount of such damages, including general damages,
            compensatory damages, economic damages, non-economic damages,
            consequential damages, and punitive damages.
        (4) Whether Defendant United Inn & Suites is liable to Plaintiff for costs,
            expenses, and reasonable attorneys’ fees, including fees pursuant to the
            18 U.S.C. § 1595(a), O.C.G.A. § 13-6-11, and/or O.C.G.A. §9-11-
            68(e), and any other fee-shifting statute.

        (5) Whether the default federal common law rule of joint and several
            liability applies to Plaintiff’s claims under 18 U.S.C. § 1595(a), a
            federal statute.

        (6) Whether Plaintiff is entitled to punitive damages against Defendant
            under 18 U.S.C. § 1595(a).


                                         9
       (7) Any additional legal issues raised by any affirmative defenses or
           counterclaims Defendant may assert.

       (8) Legal issues addressed in Plaintiff’s trial brief and motions in limine
           briefing.

By Defendants:

     (1) Whether Plaintiff is a victim of a violation of Chapter 77 of the United
     States Code Annotated.

     (2) Whether Northbrook knowingly benefited, as such term is used in 18
     U.S.C. § 1595(a).

     (3) Whether Northbrook participated in a venture, as such term is used in 18
     U.S.C. § 1595(a).

     (4) Whether the alleged venture violated the TVPRA as to Plaintiff.

     (5) Whether Northbrook knew or should have known that the alleged venture
     violated the TVPRA as to Plaintiff.

     (6) Whether alleged knowledge, acts or omissions of Northbrook’s employees
     are imputable to Northbrook.

     (7) Whether Northbrook’s acts or omissions were the cause in fact and
     proximate cause of Plaintiff’s injuries or damages.

     (8) Whether Plaintiff’s injuries or damages were caused, in whole or in part,
     by pre-existing and subsequent conditions and events unrelated to the subject
     matter of this case.

     (9) Whether the injury or damage to Plaintiff was caused by the conduct of
     persons other than Northbrook.

     (10) Whether Plaintiff’s own acts or omissions caused or contributed to her
     injury and damages.

     (11) The amount of damages, if any, to which Plaintiff is entitled.


                                       10
      (12) Whether damages, if any, to which Plaintiff is entitled are subject to
      apportionment pursuant to federal law and/or O.C.G.A. § 51-12-33.

      (13) Whether Plaintiff is entitled to an award of punitive damages, and, if so,
      the amount of such damages.

      (14) Whether Plaintiff is entitled to an award of attorneys’ fees and, if so, in
      what amount.


                                         18.

      Attached hereto as Attachment “F-1” for the plaintiff, Attachment “F-2”
for the defendant, and Attachment “F-3”, etc. for all other parties is a list of all
the witnesses and their addresses for each party. The list must designate the
witnesses whom the party will have present at trial and those witnesses whom
the party may have present at trial. Expert (any witness who might express an
opinion under Rule 702), impeachment and rebuttal witnesses whose use as a
witness can be reasonably anticipated must be included. Each party shall also
attach to the list a reasonable specific summary of the expected testimony of
each expert witness. All of the other parties may rely upon a representation by
a designated party that a witness will be present unless notice to the contrary is
given ten (10) days prior to trial to allow the other party(s) to subpoena the
witness or to obtain the witness’ testimony by other means. Witnesses who are
not included on the witness list (including expert, impeachment and rebuttal
witnesses whose use should have been reasonably anticipated) will not be
permitted to testify, unless expressly authorized by court order based upon a
showing that the failure to comply was justified.

      See Attachments “F-1” and “F-2.”


                                         19.

       Attached hereto as Attachment “G-1” for the plaintiff, “G-2” for the
defendant, and “G3”, etc. for all other parties are the typed lists of all
documentary and physical evidence that will be tendered at trial. Learned
treatises which are expected to be used at trial shall not be admitted as exhibits.
Counsel are required, however, to identify all such treatises under a separate
heading on the party’s exhibit list.

                                         11
       Each party’s exhibits shall be numbered serially, beginning with 1, and
without the inclusion of any alphabetical or numerical subparts. Adequate
space must be left on the left margin of each party’s exhibit list for court
stamping purposes. A courtesy copy of each party’s list must be submitted for
use by the judge.
       Prior to trial, counsel shall mark the exhibits as numbered on the
attached lists by affixing numbered yellow stickers to plaintiff’s exhibits,
numbered blue stickers to defendant’s exhibits, and numbered white stickers to
joint exhibits. When there are multiple plaintiffs or defendants, the surname
of the particular plaintiff or defendant shall be shown above the number on the
stickers for that party’s exhibits. Specific objections to another party’s exhibits
must be typed on a separate page and must be attached to the exhibit list of the
party against whom the objections are raised. Objections as to authenticity,
privilege, competency, and, to the extent possible, relevancy of the exhibits shall
be included. Any listed document to which an objection is not raised shall be
deemed to have been stipulated as to authenticity by the parties and shall be
admitted at trial without further proof of authenticity. Unless otherwise noted,
copies rather than originals of documentary evidence may be used at trial.
Documentary or physical exhibits may not be submitted by counsel after filing
of the pretrial order, except upon consent of all the parties or permission of the
court. Exhibits so admitted must be numbered, inspected by counsel, and
marked with stickers prior to trial.
       Counsel shall familiarize themselves with all exhibits (and the numbering
thereof) prior to trial. Counsel will not be afforded time during trial to examine
exhibits that are or should have been listed.

      The parties have prepared and exchanged exhibit lists and objections. The

parties are conferring in good faith to resolve as many objections as possible in

advance of the pre-trial conference and to formalize stipulations as to evidentiary

issues. Some of the objections may be resolved by this Court’s rulings on motions

in limine. The parties intend to submit exhibit lists to the Court prior to the pre-trial

conference.




                                           12
                                        20.

     The following designated portions of the testimony of the persons listed
below may be introduced by deposition:

      Plaintiff has identified for Defendant the portions of United Inn’s 30(b)(6)

deposition testimony that Plaintiff may use at trial. Defendant is reviewing those

portions for objections and counter-designations.

      Any objections to the depositions of the foregoing persons or to any
questions or answers in the depositions shall be filed in writing no later than the
day the case is first scheduled for trial. Objections not perfected in this manner
will be deemed waived or abandoned. All depositions shall be reviewed by
counsel and all extraneous and unnecessary matter, including non-essential
colloquy of counsel, shall be deleted. Depositions, whether preserved by
stenographic means or videotape, shall not go out with the jury.


                                        21.

       Attached hereto as Attachments “H-1” for the plaintiff, “H-2” for the
defendant, and “H-3”, etc. for other parties, are any trial briefs which counsel
may wish to file containing citations to legal authority concerning evidentiary
questions and any other legal issues which counsel anticipate will arise during
the trial of the case. Limitations, if any, regarding the format and length of trial
briefs is a matter of individual practice which shall be established by each
judge.

      See Attachments “H-1” and “H-2.”

                                        22.

      In the event this is a case designated for trial to the court with a jury,
requests for charge must be submitted no later than 9:30 a.m. on the date on
which the case is calendared (or specially set) for trial. Requests which are not
timely filed and which are not otherwise in compliance with LR 51.1, will not
be considered. In addition, each party should attach to the requests to charge
a short (not more than one (1) page) statement of that party’s contentions,

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covering both claims and defenses, which the court may use in its charge to the
jury.
      Counsel are directed to refer to the latest edition of the Eleventh Circuit
District Judges Association’s Pattern Jury Instructions and Devitt and
Blackmar’s Federal Jury Practice and Instructions in preparing the requests to
charge. For those issues not covered by the Pattern Instructions or Devitt and
Blackmar, counsel are directed to extract the applicable legal principle (with
minimum verbiage) from each cited authority.

       The parties are working in good faith to prepare requests to charge and will

submit them “no later than 9:30 a.m. on the date on which the case is calendared (or

specially set) for trial,” as set forth above.


                                            23.

       If counsel desire for the case to be submitted to the jury in a manner other
than upon a general verdict, the form of submission agreed to by all counsel
shall be shown in Attachment “I” to this Pretrial Order. If counsel cannot agree
on a special form of submission, parties will propose their separate forms for
the consideration of the court.

       The parties have attached hereto as Exhibits “I-1” and “I-2” their respective

proposed verdict forms.

                                            24.

      Unless otherwise authorized by the court, arguments in all jury cases
shall be limited to one-half hour for each side. Should any party desire any
additional time for argument, the request should be noted (and explained)
herein.

       The parties request that they be permitted up to 30 minutes for opening

statements and up to 40 minutes for closing arguments.



                                            14
                                        25.

      If the case is designated for trial to the court without a jury, counsel are
directed to submit proposed finding of fact and conclusions of law not later than
the opening of trial.
                                        26.

       Pursuant to LR 16.3, lead counsel and persons possessing settlement
authority to bind the parties met in person on March 14, 2023, and plan to meet
again on May 13, 2024, to discuss in good faith the possibility of settlement of
this case. The court (__X___) has or (____) has not discussed settlement of this
case with counsel. It appears at this time that there is: (_____) A good possibility
of settlement. (_____) Some possibility of settlement. (__X__) Little possibility
of settlement. (_____) No possibility of settlement.

                                        27.

      Unless otherwise noted, the court will not consider this case for a special
setting, and it will be scheduled by the clerk in accordance with the normal
practice of the court.

                                          28.
The plaintiff estimates that she will need approximately 3 days to present her
evidence. The defendant estimates that it will require approximately 2 days to
present its evidence. It is estimated that the total trial time is 5-6 days.


                                        29.

IT IS HEREBY ORDERED that the above constitutes the pretrial order for
the above captioned case (_____) submitted by stipulation of the parties
or (__X__) approved by the court after conference with the parties.

       IT IS FURTHER ORDERED that the foregoing, including the
attachments thereto, constitutes the pretrial order in the above case and that it
supersedes the pleadings which are hereby amended to conform hereto and that
this pretrial order shall not be amended except by Order of the court to prevent
manifest injustice. Any attempt to reserve a right to amend or add to any part
of the pretrial order after the pretrial order has been filed shall be invalid and
of no effect and shall not be binding upon any party or the court, unless

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specifically authorized in writing by the court. IT IS SO ORDERED
this 6th day of July, 2025.



                               __________________________________
                               SARAH E. GERAGHTY
                               UNITED STATES DISTRICT JUDGE




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